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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11    MICHELLE MORIARTY, an individual, )            No. 17cv1154-LAB(AGS)
      as Successor in Interest to the Estate of )
12    HERON MORIARTY and as Guardian Ad )
      Litem to ALEXANDRIA MORIARTY, )                COUNTY OF SAN DIEGO’S
13    ELIJAH MORIARTY, and ETERNITY )                RESPONSE TO PLAINTIFFS’
      MORIARTY,                                 )    MOTION TO TAKE MS. WERNER’S
14                                              )    DEPOSITION; LIST WERNER AS A
                  Plaintiffs,                   )    WITNESS; AND COMPEL
15                                              )    PRODUCTION OF STATEMENTS
            v.                                  )    OBTAINED FROM MS. WERNER
16                                              )
      COUNTY OF SAN DIEGO,                      )
17    DR. ALFRED JOSHUA, individually,          )
      and DOES 1 through 10, Inclusive,         )    Magistrate: Hon. Andrew G Schopler
18                                              )    Judge: Hon. Larry A. Burns
                  Defendants.                   )
19                                              )
20
21                                        INTRODUCTION
22          The County is not opposing Plaintiffs’ effort to take the deposition of Ms. Werner.
23    Further, there are no unprivileged witness statements from Ms. Werner to produce. Still,
24    the misstatements and incorrect assumptions made by Plaintiffs in their motion need to be
25    addressed. Finally, the County asks the Court to preclude Plaintiffs from benefiting from
26    their improper questioning of Ms. Werner, ignoring the attorney-client privilege, about
27    her communications with County Counsel’s office.
28    ///

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 1       I.       There was no written or recorded statement from the 2018 interview of
 2                Werner in the Nishimoto case.
 3             This is not a formal discovery motion, yet Plaintiffs seek an order requiring the
 4    County to produce witness statements. The motion should be denied on that basis. In
 5    addition, any statement obtained by County Counsel from a County employee like Ms.
 6    Werner is protected from disclosure by the attorney-client and work product privileges.
 7    Plaintiffs cannot claim any good cause to pierce the privileges.
 8       II.      Plaintiffs make numerous inaccurate accusations and misstatements.
 9             Plaintiffs claim that medical records clerk Werner gave her account of the events
10    leading to Mr. Moriarty’s suicide to County Counsel as of March 2018, but that her
11    identity was withheld despite on-point discovery requests propounded by Plaintiffs.
12    Specifically, Plaintiffs assert that Ms. Werner should have been identified in July of 2018
13    in response to Interrogatory No. 29. That interrogatory asks whether anyone
14    “recommend[ed]” Mr. Moriarty be placed in a safety cell.
15             These allegations are mistaken and unfounded. First, Ms. Werner and her
16    recollection about the events leading up to Mr. Moriarty’s suicide were not known to
17    County Counsel in March of 2018, and were not known to County Counsel when the
18    response to Interrogatory 29 was provided. (Declaration of Welsh.)
19             After the County responded to Interrogatory No. 29 in the Moriarty case, Ms.
20    Werner was interviewed in a separate case, the Nishimoto case. During that interview
21    she mentioned being present at Vista jail the morning before Mr. Moriarty’s suicide. At
22    the time, different attorneys from the Office of County Counsel were assigned to the
23    Nishimoto and Moriarty cases, and County Counsel assigned to the Moriarty case did not
24    connect Ms. Werner’s statement in the Nishimoto case as being responsive to
25    Interrogatory No. 29 in the Moriarty case and did not supplement the County’s response.
26    (Declaration of Welsh.)
27    ///
28    ///
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 1          In addition, the County’s response to Interrogatory No. 29 was proper because it
 2    listed CPMG Nurse-Practitioner Amanda Daniels as the person who recommended safety
 3    cell placement. As a records clerk, Ms. Werner was not in a position to “recommend”
 4    placement of an inmate in any psychiatric housing. She did not have a medical or
 5    psychiatric background, and had no authority to make any such recommendation. It
 6    appears Ms. Werner’s concerns may have led Nurse-Practitioner Daniels to evaluate
 7    Moriarty that morning and make the safety cell recommendation, but it was up to the
 8    psychiatric professional, not records clerk Werner, to make a recommendation.
 9          Details of Ms. Werner’s communication with County Counsel are protected by the
10    attorney-client privilege and/or the attorney work-product doctrine, and the County does
11    not waive those privileges. County Counsel is informed and believes that if she is called
12    as a witness, Ms. Werner is expected to testify:
13          -      She worked 50 feet away from Mr. Moriarty’s cell and never met or even
14          saw him;
15          -      While she at one point mentioned asking Sgt. Weidenthaler whether
16          Mr. Moriarty could be placed in a safety cell because she could hear him
17          bellowing, she later corrected this and now specifically recalls that when she
18          asked Sgt. Weidenthaler about Mr. Moriarty she was not raising a question
19          about placing him in a safety cell;
20          -      She was not a psychiatric professional or a member of the sworn staff.
21          Rather, she was a medical records clerk whose job duties and role did not
22          involve determining whether an inmate would be placed in a safety cell;
23          (Declaration of Welsh.)
24          Ms. Werner’s role as a medical records clerk must be viewed in the context of the
25    basic facts that investigation and discovery have established:
26                 a)    Mr. Moriarty was in an Administrative Segregation cell, which is the
27                 type of cell used to isolate inmates who threaten to harm others. During the
28                 three days leading up to the day of his suicide, Mr. Moriarty was evaluated
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 1                twice by a Psychiatrist employed by Defendant Correctional Physicians
 2                Medical Group (“CPMG”), Dr. Lissaur, and found not to be suicidal.
 3                (Exhibit A, excerpts from Deposition of Ralph Lissaur taken on August 21,
 4                2018, hereinafter “Lissaur Depo.” at pages 213:17-18, 217:7-15, 121:12-23,
 5                122:3-4, 137:23-24, 139:21-23, 140:5-12)
 6                b)    Ms. Werner reportedly says that the morning before Mr. Moriarty’s
 7                suicide, she was at the nurses’ station questioning the need to do something
 8                for Moriarty because she could hear him making loud noises.
 9                c)    Later that morning, the jail Nursing Supervisor asked Dr. Goldstein
10                (the former Medical Director for the jails who facilitated Multidisciplinary
11                Group Meetings) if Mr. Moriarty’s situation could be reviewed by the
12                Multidisciplinary Group. Dr. Goldstein agreed, and asked that the CPMG
13                psychiatric professional on duty evaluate Mr. Moriarty so she could provide
14                information to the Multidisciplinary Group later that very morning. (Exhibit
15                B, excerpts from Deposition of Earl Goldstein M.D., taken on July 18, 2018,
16                hereinafter “Goldstein Depo.” at pages 67:12-68:2)
17                d)    Nurse-Practitioner Daniels then evaluated Mr. Moriarty. She, too,
18                determined that Mr. Moriarty was not suicidal. However, because he was
19                threatening to kill anyone who came into his cell to move him to a
20                psychiatric unit, Daniels recommended that he be moved to a safety cell
21                because of his homicidal statements. (Exhibit C, excerpts from Deposition
22                of Amanda Daniels, taken on August 24, 2018, hereinafter “Daniels Depo.”
23                at pages 52:15-53:24; 76:2-86:17)
24                e)    Nurse-practitioner Daniel’s recommendation was conveyed to Sgt.
25                Weidenthaler by Deputy Guillory. (Exhibit D, excerpts from Deposition of
26                Lois Guillory, taken on August 14, 2018, hereinafter “Guillory Depo.” at
27                pages 157:7-17)
28    ///
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 1                 f)     Sgt. Weidenthaler did not have Mr. Moriarty moved to a safety cell,
 2                 reportedly because the psychiatric professionals said he was not suicidal, he
 3                 was already in a cell for homicidal inmates, and he had threatened to kill
 4                 anyone who entered his cell to try to move him to a psychiatric unit.
 5                 (Exhibit E, excerpts from Deposition of Dale A. Weidenthaler taken on
 6                 August 29, 2018, hereinafter “Weidenthaler Depo.” at pages 130:20-131:11)
 7                 g)     Nurse-practitioner Daniels attended the Multidisciplinary Group
 8                 Meeting later that morning and declined the suggestion to consult with the
 9                 CPMG psychiatrist about whether Mr. Moriarty should be moved to Central
10                 Jail’s psychiatric unit. Nurse-Practitioner Daniels informed the group that
11                 she was developing a rapport with Mr. Moriarty, he had agreed to take his
12                 medicine, and she felt she could handle him at VDF. (Exhibit B, excerpts
13                 from Deposition of Earl Goldstein M.D., taken on July 18, 2018, hereinafter
14                 “Goldstein Depo.” at pages 43:5-21)
15                 h)     Mr. Moriarty’s situation was not ignored. Rather the Nursing
16                 Supervisor activated the chain of events leading Nurse-Practitioner Daniels
17                 to evaluate Mr. Moriarty and present Mr. Moriarty’s situation to the
18                 Multidisciplinary Group that same morning.
19       III.   Plaintiffs knew of Ms. Werner in 2018.
20          Plaintiffs claim that they were not aware of the existence of Ms. Werner until
21    recently. In fact, all counsel in this case knew Ms. Werner was present at Vista jail near
22    the time that Mr. Moriarty killed himself, and knew she communicated with others about
23    his death. Discovery in 2018 included production of a series of text messages from the
24    night Mr. Moriarty killed himself. These text messages were between Deputy Johnson
25    and Nurse-Practitioner Daniels. They mention Ms. Werner being present. Plaintiffs’
26    counsel were not only provided with these text messages; they were provided with Ms.
27    Werner’s job title and her first and last name to clarify that she was the subject of the
28    texts. Plaintiffs’ counsel also had the opportunity to depose Deputy Johnson, Deputy
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 1    Guillory, jail Nursing Supervisor Arnold Fajayan and Nurse-Practitioner Daniels about
 2    the texts and about Ms. Werner’s role on the morning of Mr. Moriarty’s suicide. (Exhibit
 3    F, excerpts of Amanda Daniels taken on August 24, 2018, hereinafter “Daniels Depo.” at
 4    pages 108:19); (Exhibit G, excerpts from Deposition of Arnold Fajayan, taken on March
 5    18, 2019, hereinafter “Fajayan Depo.” at pages 50:5); (Exhibit H, excerpts of Duane
 6    Johnson, taken on December 12, 2018, hereinafter “Duane Depo” at pages 123:19-
 7    124:2.)
 8           For example, in her deposition, with Plaintiffs’ counsel present, Deputy Guillory
 9    testified:
10                 Q      He writes, Deputy Johnson, "I can't right
11                 now. I'll talk to Jeanette." Do you know the Jeanette
12                 he's referring to?
13                 A      Yes.
14                 Q      Who is that?
15                 A      Medical records clerk.
16                 Q      What's her last name?
17                 A      Warner.
18           (Exhibit I, excerpts from Deposition of Louis Guillory taken on August 14, 2018,
19    hereinafter “Guillory Depo.” at pages 192:19-193:1.)
20           Plaintiffs cannot complain about not being provided with Ms. Werner’s identity;
21    the fact that they chose not to follow up by taking Ms. Werner’s deposition is not the
22    County’s fault.
23           IV.   Plaintiffs’ Counsel acted inappropriately by interviewing Werner about
24    her prior meeting with County Counsel, instructing her not to communicate further
25    with County Counsel even though she is a County employee, and then advising her
26    to retain private counsel who they selected.
27           Plaintiffs argue that in taking issue with Plaintiffs counsel’s repeated
28    communications with Ms. Werner, the County is just creating a “distraction bomb”. In
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 1    making their argument, Plaintiffs misconstrue the privilege concerns that their conduct
 2    implicates. Contrary to Plaintiffs’ intimations, California Rule of Professional Conduct
 3    4.2 is not the be-all and end-all of their ethical obligations in litigation. See Triple A
 4    Mach. Shop, Inc. v. Calif., 213 Cal. App. 3d 131, 140–41 (1989) (“Rule[4.2] does not
 5    define the scope of the attorney-client privilege; rather, it bars ex parte communications
 6    with opposing parties regardless of whether the information sought, obtained or conveyed
 7    is privileged from disclosure. . . [I]t is possible in any given case that . . . a lower level
 8    employee who is not shielded from contact under rule [4.2] may be in possession of
 9    substantial privileged information.”).
10           To clarify, the County does not assert that in all cases, all County employees are
11    automatically off-limits from opposing counsel as “represented parties.” Instead, the
12    County’s point is that Ms. Werner, by virtue of her prior meeting and interview with an
13    attorney and an investigator from County Counsel, was privy to attorney-client protected
14    communications. See Upjohn Co. v. United States, 449 U.S. 383, 390–93 (1981);
15    Galarza v. United States, 179 F.R.D. 291, 295 (S.D. Cal. 1998) (“The case is similar to
16    that of a corporation whose employees are alleged wrongdoers or know of relevant facts
17    of the alleged wrongdoing. The Government functions through its employees; it lives or
18    dies by the acts of its employees.”). Ms. Werner, moreover, lacked authority to waive the
19    County’s privilege, as it belongs to the County alone. See United States v. Chen, 99 F.3d
20    1495, 1502 (9th Cir. 1996) (“[A] corporate employee cannot waive the corporation's
21    privilege.”).
22           Accordingly, Plaintiffs’ counsel’s decision to interact with Ms. Werner after
23    knowing she had met with and been interviewed by County Counsel in connection with
24    litigation plainly raises privilege concerns.
25           Plaintiffs’ counsel’s conduct with respect to Ms. Werner also marks a notable
26    departure from the conduct of counsel for all parties to this case with regard to every
27    other County employee with relevant information. In every other instance, contact with
28    County employees was made only through properly noticed depositions, as all counsel
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 1    recognized that County Counsel would be representing each employee at their
 2    depositions. (Welsh Declaration.)
 3            It is alarming that Plaintiffs’ counsel ignored the ethical implications of proceeding
 4    to interview Ms. Werner specifically about her communications with her attorney,
 5    County Counsel, in connection with the Nishimoto and Moriarty matters. Our courts
 6    discourage such conduct:
 7            “[T]o avoid potential violations of the attorney-client privilege, an attorney
 8            contacting an employee of a represented organization should question the
 9            employee at the beginning of the conversation, before discussing substantive
10            matters, about . . . whether the employee has spoken to the organization's
11            counsel concerning the matter at issue. If a question arises concerning
12            whether the employee would be covered by rule [4.2] or is in possession of
13            privileged information, the communication should be terminated.”. See
14            Snider v. Superior Ct., 113 Cal. App. 4th 1187, 1212–13 (2003) (emphasis
15            added).
16
17            It is equally alarming that Plaintiffs’ counsel, who admit that they told Ms. Werner
18    she should not communicate with County Counsel any further, attempts to claim the
19    moral high-ground while actively interfering with County Counsel’s ability to
20    communicate with a witness who is a County employee. (Welsh Declaration.) Finally,
21    Plaintiffs’ counsel compounded their interference by advising Ms. Werner to retain
22    personal counsel to protect her from the County, and then referring her to an attorney
23    who they – Plaintiffs’ counsel – selected. To put it lightly, this was an inappropriate role
24    for Plaintiffs’ counsel to take.
25       V.      If the court allows Werner’s deposition, Plaintiffs’ counsel should not be
26               allowed to ask any questions about what she discussed with County
27               Counsel’s office at any time
28            Plaintiffs’ counsel crossed ethical boundaries in talking to a County employee
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 1    about discussions she had when she met with an attorney and an investigator from the
 2    office of County Counsel in the Nishimoto case. A variety of remedies are possible for
 3    such misconduct. One solution is to preclude Ms. Werner from testifying on behalf of
 4    Plaintiffs. Another measure would be to prevent Plaintiffs’ counsel from using any
 5    information they obtained in their interviews and communications with Ms. Werner. At
 6    the very least, the County requests this Court to issue an order precluding any evidence,
 7    testimony or argument regarding the content of communications Ms. Werner had with
 8    County Counsel’s office. Plaintiffs should not be allowed to ask Ms. Werner questions
 9    about this issue at deposition.
10                                         CONCLUSION
11          The County does not oppose taking the deposition of Ms. Werner, if this Court
12    sees fit to re-open discovery. However, the County does not agree that Plaintiffs’ counsel
13    can appropriately interview County employees about their discussions with County
14    Counsel, or advise employees not to speak to County Counsel about litigation. In doing
15    so, Plaintiffs’ counsel have crossed the line by invading the attorney-client privilege and
16    interfering with County Counsel’s ability to communicate with County employees.
17    Consequently, the County requests this Court to issue an order precluding Plaintiffs from
18    offering any evidence, testimony or argument regarding the content of communications
19    Ms. Werner had with County Counsel’s office.
20
21    DATED: September 4, 2020          THOMAS E. MONTGOMERY, County Counsel
22
23                                      By: s/ CHRISTOPHER J. WELSH, Senior Deputy
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